Case 1:09-cr-20536-TLL-PTM ECF No. 574, PageID.2387 Filed 03/05/12 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 09-20536-18-BC
v.                                                            Honorable Thomas L. Ludington

FINESSE LATCHISON,

               Defendant.

__________________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION,
               ACCEPTING DEFENDANT’S GUILTY PLEA, AND TAKING
               THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on February 9, 2012, by U.S. Magistrate Judge Charles E.

Binder pursuant to the Defendant’s consent. The magistrate judge issued his report (ECF No.

552) on February 10, 2012, recommending acceptance of Defendant’s guilty plea. Either party

may serve and file written objections “[w]ithin fourteen days after being served with a copy” of

the report and recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo

determination of those portions of the report . . . to which objection is made.” Id. Where, as

here, neither party objects to the report, the district court is not obligated to independently review

the record. Thomas v. Arn, 474 U.S. 140, 149–52 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation

(ECF No. 552) is ADOPTED.
Case 1:09-cr-20536-TLL-PTM ECF No. 574, PageID.2388 Filed 03/05/12 Page 2 of 2




      It is further ORDERED that the defendant’s guilty plea as to the lesser included offense

of count one of the second superseding indictment is ACCEPTED, and the Rule 11 Plea

Agreement (ECF No. 545) is taken UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge

Dated: March 5, 2012




                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on March 5, 2012.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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